                     Case 1:13-cr-00220-JRH-BKE Document 480 Filed 06/03/16 Page 1 of 1

AO 247 (10/11) Order Regarding Molion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                                 Page 1 of 2(Page 2 Not for Public Disclosure)



                                                               United States District Court                                  tJ.S. DiSTPvfCT COURT
                                                                                                                                   AiJtUSfi §IV.
                                                                                      for the

                                                                     Southern District of Georgia                           2016JUN-3 AMI|:23
                                                                         Augusta Division
                        United States of America                                       )                        CLERK
                                         V.                                            )                            SI
                                                                                       ) Case No: I:13CR00220-6
                         Naun Padilla, aka "Lo"
                                                                                       ) USM No: 18552-021
Date of Original Judgment:                          June 4, 2015                       ) Frank Adam Nelson
Date of Previous Amended Judgment: Not Applicable                                      ) Defendant's Attorney
(Use Dale ofLast Amended Judgment ifAny)


                         Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

            Upon motion of [x]the defendant □the Director of the Bureau of Prisons [31the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § IB1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
 2£ DENIED. I [granted and the defendant's previously imposed sentence of imprisonment (as reflected in the lastjud^nent
                            issued) of              months IS reduced to                                                                                                   •


                                                    (Complete PartsIandII ofPage 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                              June 4, 2015,        shall remain in effect.

IT IS SO ORDERED.


Order     Date:             C, j^j20/d-^                                                                              ge s signature




                                                                                             J. Randal Hall
Effective Date:                                                                              United States District Judge
                          (if different from order date)                                                      Printed name and title
